 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

 

  

CARL WILSON, an individual, eee,
and AUDREE WILSON, an Case No. CIV $4 892 Jc WW
individual, BEC N A Sree

Plaintiffs,
v.

HARPERCOLLINS PUBLISHERS,
INC., a Delaware corporation,

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Defendant. )
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8’ MEMORANDUM IN OPPOSTITIO a ,
MOTION TO PRECLUDE PLAINTIFFS’ USE OF EXPERTS

COME NOW Plaintiffs Audree Wilson and Carl Wilson to submit
their Memorandum in Opposition to Defendant HarperCollins’ Motion
to Preclude Plaintiffs’ Use of Experts.

Plaintiffs did not meet the February 1, 1995 deadline to
designate experts and produce expert reports, set by the Court’s
Initial Scheduling Order. Plaintiffs respectfully ask the Court
to excuse the failure of their counsel to meet the deadline. As
set forth in the Affidavit of Beth putas, Plaintiffs’ counsel
apologizes to the Court for its neglect in missing the deadline,
and represents to the Court that such oversight was not the
result of a contumacious attitude or disrespect for the court,
but was related to Plaintiffs’ discovery burdens and other
problems of Plaintiffs’ counsel (unrelated to this case, which

1% Plaintiffs’ counsel has since taken steps to resolve). Affidavit

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of Beth F. pul, Esq., { 4, concurrently @tlea ("Dumas
Affidavit").
I. GQOD CAUSE EXT8TS TO MODIFY THE SCHEDULING ORDER

The issue presented by Defendant’s Motion is not whether the
Court has the authority to impose sanctions, but rather how the
Court should exercise it’s discretion over the management of this
case. Federal Rule of Civil Procedure 16(e) allows the Court to
modify an Initial Scheduling Order on a showing of good cause.
Further, the Advisory Committee’s note to the 1993 Amendment to
Rule 16 provides that the "timing and sequence of disclosure of
expert testimony...to be used at trial should be tailored to the
circumstances of the case .. ," (emphasis added).

As set forth in Plaintiffs’ pending Motion for Extension of
Time Within Which to Designate Expert Witnesses, Plaintiffs
submit that good cause exists to modify the Scheduling Order to
allow for a later expert witness disclosure date. Here, the
meaningful gelection of experts by Plaintiffs and the experts‘
formation of an opinion depend upon analysis of the voluminous
documents produced by Defendant HarperCollins in December 1994
and February 1995 relating to the authorship, editorial process
and attorney prepublication review of the Book, and further,
analysis of the deposition testimony of, inter alia,
HarperCollins/ editors and prepublication review libel attorneys
(scheduled to occur in New York in March) and the depositions of
certain representatives of the purported author, Brian Wilson.

Dumas Affidavit, q 8.

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Plaintiffs ask the Court to refrain from imposing the
preclusion order sought by Defendant HarperCollins. The general
rule derived from the cases is that preclusion of experts is in
most situations too extreme a sanction. In Daugherty v. Fruehauf
Trajler Corporation, 146 F.R.D. 129 (E.D. Pa. 1993), the Court
ruled that the plaintiff’s violation of a scheduling order by
failing to timely disclose expert witnesses did not warrant the
extreme sanction of precluding their testimony. As in the case
at bar, the defendant failed to demonstrate any specific
prejudice or any reason why any prejudice could not be cured by,
inter alia, the grant of additional time to the defendant to
depose the plaintiff's experts.

Similarly, in EEOC v. General Dynamics Corp., 999 F.2d 113

(Sth Cir. 1993), the Court held that exclusion of the plaintiff/s
expert witness as a sanction for violation of a discovery order
was an abuse of discretion, in that whatever prejudice would have
‘resulted from permitting the expert to testify could have been
cured by a continuance:

"We have emphasized that continuance, not

exclusion, is the preferred means of dealing

with the parties’ attempt to designate a

witness out of order or offer new evidence. .

» » ‘f[C]Joupled with appropriate sanctions, a

continuance will serve the court’s truth-

seeking function while still allowing it to

punish and deter conduct that is in violation

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Bene rules.‘ (Citation). @... the fact

that. the District Court’s sanction of total

exclusion of Dr. Kerns’ expert testimony was

tantamount to a dismissal of the EEOC’s

disparate impact claim, the District court

abused its discretion by failing to consider

the possibility of lesser sanctions than the

total preclusion of the EEOC’s expert

witnesses."
Id. at 116-117 (citations omitted). See, Sheets v. Yamaha Motors
Corporation, 891 F.2d 533 (5th Cir. 1990) reh’g denied, in bank
(inability of plaintiff to show how defendants’ wrongful conduct
caused any harm is a proper basis for denying sanctions).

| The Court‘s attention is also directed to the Author’s

commentary to the application of Rule 16(f) sanctions, which
provides, in part:

"Where a party commits a pracedural error,

courts generally will not impose sanctions

that compromise the merits of the case.

Instead, the court should impose costs and

fees. When a party commits a substantive

error the court may impose sanctions which

compromises the merits of a party’s case."
The evidence sanction sought by Defendant HarperCollins - the
preclusion of the use of expert testimony on Phase One issues -
would compromise the merits of Plaintiffs’ case and is thus an

improper remedy to impose.

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The law in the Tenth Circuit is in accord with the Author’s
Commentary. In Baker v. Ravear Flying Svc., Inc., 744 F.2d 1428
(10th Cir. 1984), the Court held that where the plaintiff's
counsel did not disclose witnesses timely in response to the
defendant’s interrogatories and failed to designate expert
witnesses timely, sanctions in the form of a $300.00 fine against
the Plaintiff’s attorneys was appropriate because the
interference with the Court’s management of the case was the
Fault of the plaintiff's lawyers and sanctions should not be
imposed against the client. The Court stated:

"If the fault lie with the attorneys, that is

where the sanction should be lodged. If the

fault is with the client, that is where the

sanction should be lodged."
See also, Woodmore vy, Git-N-Go, 790 F.2d 1497 (10th Cir. 1986,
(holding inter alia that it was reversible error for trial court
to order dismissal for failure to timely pre-trial memorandum) ;
Hollis v. United States, 744 F.2d 1430 (10th Cir. 1986); Roy v.

an Profess j VG,, 117 F.R.D. 692 (W.D. Okla.

1987). While in rare cases a preclusion sanction has been
imposed, those cases presented a more egregious situation of

delay. Sexton v. Gulf Oi] Corp., 809 F.2d 167 (1st Cir. 1987)

(declining to find error with district court’s exclusion of

- plaintiffs experts because plaintiff had waited more than four

months after deadline to request extension of designation date,
without a convincing explanation as to why the deadline was

missed, and further, because there was no convincing showing that

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exclusion of the expert testimony would "significantly prejudice"
the plaintiffs).

While the failure of Plaintiffs counsel to timely designate
expert witness is an example of neglect, Plaintiffs ask the Court
to consider the personal explanation provided by Plaintirf’s
counsel (Dumas Affidavit, { 4), and further, consider that the
circumstances of discovery in this case rendered the February 1,
1995 designation deadline impractical. fn this regard, the Court
is asked to take into account the fact that the role of
Plaintiffs’ experts as regards to Phase One issue is not the
analysis of the harm suffered by Plaintiffs. Thus, Plaintiffs
themselves are not the source of the information upon which the
experts’ opinions will rest. Rather, the Phase One experts will
analyze the conduct of the authors, editorial staff, libel
attorneys, and the persons they communicated with, as disclosed
in their upcoming deposition testimony, and the editorial
documents produced by HarperCollins. As of the February 1, 1995
deadline, Plaintiffs: analysis of the documents produced by
Defendant HarperCollins in December 1994 and February 1995 had
not been completed, in part, because of the voluminous nature of
such. documents, and further, because of the burden imposed by

responding to HarperCollins’ document requests.}

 

1 As regard to the burden of production, Defendant
HarperCollins’ discovery requests necessitated the production of
veluminous privilege log, because HarperCollins requested all
documents relating to the conservatorship proceedings for Brian
Wilson (the purported author), and his mental condition. Such
documents were protected from disclosure by a Court sealing order
and a confidentiality order. Plaintiffs’ counsel devoted
substantial time to preparing a privilege log with sufficient
detail to allow Defendant HarperCollins to identify those

 

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Harpe@111ns filed this motion . & rejecting Plaintiffs’

request for agreement to a continuance of both parties’ expert
disclosure deadlines (HarperCollins‘’ deadline is March 1, 1995),
Dumas Affidavit q 8.

Plaintiffs submit that the only "detriment" to HarperCollins
from delay in the expert witness designation is that
HarperCollins will not have the benefit of an ill-prepared expert
designation and report. Continuance of the expert witness
designation deadline is more efficient ana better suited to the

circumstances of this case because Defendant HarperCollins will
receive expert reports that reflect the evidence in this case, A
provision of an expert report which does not have the benefit of
the deposition testimony of the persons involved in the editorial
process and the prepublication libel review, does not serve the

purpose of the production deadline.

 

_ documents which it feels are genuinely relevant to the
preparation of its defense. That effort was necessary because
Brian Wilson’s conservator has advised that a blanket unsealing
of the conservatorship file would be vigorously opposed.
Accordingly, Plaintiffs’ counsel felt it was their good faith
discovery obligation to provide a log with sufficient detail to
allow HarperCollins to be in a position to make a sufficiently
narrow motion to the Los Angeles Superior Court to obtain
production. Dumas Affidavit, qq 5-6.

While Plaintiffs are appreciative of the efforts
HarperCollins has made to produce most of their documents in
December 1994, it bears noting that HarperCollins’ burden of
production was comparatively light. ‘The editorial documents
produced by HarperCollins had already been produced by it in an
earlier libel action brought by Beach Boys member Mike Love.
Thus, HarperCollins’ burden consisted primarily of obtaining
those previously produced documents from storage and shipping
them out. HarperCollins produced its final box of documents on
February 22, 1995. Dumas Affidavit q 7.

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While adelay in Plaintiffs’ designation of experts and
production of reports may require adjustment of the Initial
Scheduling Order to allow HarperCollins an additional one month
to. move for summary judgment, that delay will not make the two

phase discovery plan any more costly to HarperCollins. ?

III. CONCLUSTON
For all of the foregoing reasons, Plaintiffs ask the court
to deny Defendant’s Motion, and grant Plaintiffs’ Motion to
_ extend the time to designate experts, so that the expert
designation date will be tailored to the circumstances of the

case.

Respectfully submitted,

Attorneys for Plaintiffs,
Carl Wilson and Audree Wilson:

THE ROMERO LAW FIRM

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Ernesto J. Romero
3602 Campus N.E.
Albuquerque, New Mexico 87106
Telephone: (505) 262-2131

 

 

2 The two phase discovery plan was requested by Defendant
HarperCollins to save it the cost of proceeding with discovery on
the issue of truth. Defendant HarperCollins asked that discovery
initially be tailored to the issue of whether Defendant satisfied
the requisite standard of care, because Defendant wishes to move
for summary judgment on that issue.

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@ CERTIFICATE OF sen@he

I certify I caused a true copy of the foregoing Pleading to
be hand delivered to opposing counsel, William s. Dickson, Esq.,
and mailed to Defendant, care of Mr. Dickson‘s co~counsel, Bruce
Rich, Esq., Weil, Gotshal Manges, 767 Fifth Avenue, New York,
New York 10153, This day of March, 1995, with first class
postage affixed. .

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Fnesto Romero

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